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Case 24-51568-RMM Doc31 Filed 11/14/24 Entered 11/14/24 12.47.40 esc Main
Document Page 1 of 2 ILE
U.S. Bankruptcy Court

NOV 1 4 2024

® Social Security Administration Middle District of Georgia
# Benefit Verification Letter

Date: November 1, 2024

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TIRON LEANARD ALEXANDER

4501 MCCANN RD

LONGVIEW TX 75605-2911

You asked us for information from your record. The information that you requested
is shown below. If you want anyone else to have this information, you may send
them this letter.

Information About Supplemental Security Income Payments

Beginning November 2024, the current Supplemental Security Income payment
is $688.00.

This payment amount may change from month to month if income or living
situation changes.

Supplemental Security Income Payments are paid the month they are due.

(For example, Supplemental Security Income Payments for March are paid in
March.)

Type of Supplemental Security Income Payment Information
You are entitled to monthly payments as a disabled individual.
Date of Birth Information

The date of birth shown on our records is March 7, 1990.

Suspect Social Security Fraud?

Please visit http://oig.ssa.gov/r or call the Inspector General's Fraud Hotline at
1-800-269-0271 (TTY 1-866-501-2101).

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ORIGIN ID: Geeq (404) 934-8899 SHIP DATE: 13NOV24
TIRON ALEXANDER ACTWGT = 9.30 LB

-CAD: 5994166 /SSFEasgo
4400 AMON CARTER BLYp
UNIT 155024
FORT WORTH, Tx 76155

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